THE COURT.
A motion by Martha Freund, a party to the above-entitled actions for an order dismissing the appeals of Hamilton Construction Company and John E. Hamilton and John E. Hamilton individually and doing business under the name and style of Hamilton Construction Company taken therein, upon the ground that said appeals have not been prosecuted with due diligence.
[1] It appears there has been delay in the filing of the transcript on appeal in this court, but the record fails to show that the proceedings for a transcript in the court below have been terminated and the motion must for that reason be denied. (Rule 6, sec. 1, Rules of the Supreme Court; Crocker v.Crocker, 76 Cal.App. 606 [245 P. 438]; Smith v. Jaccard,20 Cal.App. 280 [128 P. 1023, 1026].)
The motion is denied.